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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


        DEFENDANTS’ MOTION IN LIMINE NO. 4 TO PRECLUDE PLAINTIFFS FROM
        OFFERING EVIDENCE OF DAMAGES ALLEGEDLY INCURRED BY ENTITIES
         OTHER THAN PLAINTIFFS XBT HOLDING S.A. AND WEBZILLA, INC. AND
                     INCORPORATED MEMORANDUM OF LAW
            Defendants move for an order precluding Plaintiffs from introducing any evidence of
  damages claiming damages attributable to any party other than the named Plaintiffs in this
  matter: Aleksej Gubarev, XBT Holding S.A., and Webzilla, Inc.
                                     PRELIMINARY STATEMENT
            For their own strategic reasons, Plaintiffs elected to bring this lawsuit on behalf of the
  corporate entities XBT Holding S.A. and Webzilla, Inc., in addition to Aleksej Gubarev
  personally. However, their evidence of alleged damages consists entirely of alleged damages to
  other corporate entities within the XBT “family,” who are non-parties. It is well-established that
  corporate entities may not recover damages alleged to have been incurred by their subsidiaries
  and/or affiliates. Because damages attributable to non-party corporate family entities are
  categorically impermissible, Plaintiffs should be precluded from offering evidence of any such
  damages at trial.
                                      FACTUAL BACKGROUND
  A.        XBT Corporate Structure
            XBT is a holding company and, as such, it does not conduct any business itself. Ex. 1
  (Mishra Dep.) at 31:4-8; Ex. 2 (XBT S.A. Nonconsolidated 2016 statement). Rather, XBT is the
  parent company of another holding company, called XBT Holding Ltd., and a couple of minor
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  subsidiaries. Id. at 17 (showing that XBT S.A. has a 100% investment in XBT Holding Ltd.). In
  turn, XBT Holding Ltd. owns more than 20 subsidiaries, which actually conduct business. Ex. 1
  (Mishra Dep.) at 30:15-31:12; Ex. 3 (Ex. 4 to Mishra Dep) at 24; Ex. 4 at 23 (listing subsidiaries
  owned by XBT Holding Ltd.) (XBT Holding Ltd. 2016 Statement). Thus, the actual companies
  within the “XBT Family” that conduct business are two ownership steps removed from Plaintiff
  XBT Holding S.A. As testified to by XBT’s CFO, each subsidiary produces a separately audited
  annual financial statement, has a separate bank account, pays separate taxes (if any), and
  maintains its own corporate form and structure. Ex. 1 (Mishra Dep.) at 28:24-29:24; 113:10-19;
  see also Dkt. 260, Exs. 7A, 7B, & 7C (collective 2016 audited financial statements for all XBT
  subsidiaries).
  B.     Plaintiffs’ Strategic Use of XBT Subsidiaries
         Plaintiffs elected to bring this lawsuit specifically on behalf of XBT Holding S.A. and
  Webzilla, Inc. Throughout this case, they have pointed to Webzilla, Inc.’s relationship to Florida
  as their grounds for claiming both personal jurisdiction and the benefits of Florida law.1
  Plaintiffs also brought a lawsuit in the U.K., in which Plaintiffs used the European entities
  “Wezbilla B.V.” and “Webzilla Limited” as parties in order to sue Christopher Steele in that
  jurisdiction. Ex. 5 (U.K. Compl.). While Plaintiffs claimed they would apportion damages
  between BuzzFeed and Steele, they have not done so. Ex. 6 (Anderson Dep.) at 65:23-66:24.
  Moreover, as set forth below, Plaintiffs have produced no evidence of or theory of damages
  relating specifically to Webzilla, Inc.


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    See, e.g., Dkt. 21 at 1-2 (“Buzzfeed published a defamatory article … concerning the Plaintiffs,
  including Webzilla, Inc., a Florida Corporation (“Webzilla’)”); id. at 4 (“Webzilla is
  incorporated as a domestic for-profit corporation in Florida and has been continuously registered
  as such with Florida’s Division of Corporations since 2009.”); id. (“the North America Corporate
  Contact address listed for Webzilla is in Fort Lauderdale, Florida”); id. (“Webzilla’s Financial
  Director, Constantin Luchian, has been a full-time resident of Florida since 2009 and he has
  performed all of his duties for Webzilla – including processing of payments to Webzilla;
  oversight of Webzilla’s billing; and overseeing Webzilla’s accounting – from Florida.”); id.
  (“Webzilla has always maintained a physical presence in Florida.”); id. at 5 (“Webzilla files
  Florida tax returns in Florida and, since 2009, Webzilla has maintained a bank account in Florida
  with Bank of America.”); Dkt. 83 at 3-5 (repeating the identical statements about Webzilla’s
  relationship to Florida for purposes of seeking application of Florida’s reporter’s privilege); id. at
  9 (“this Court has also already found that Plaintiff has suffered injury in Florida”); Dkt. 115 at 6
  n.7 (arguing that the Florida fair report privilege should apply because “Webzilla is,
  indisputably, a Florida corporation that has long maintained a presence in Florida.”).


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  C.      Plaintiffs’ Evidence of Damages
          1.      Jeffrey Anderson
          As is set forth in Defendants’ Daubert motion, Plaintiffs offer Jeffrey Anderson to
  provide an expert opinion on alleged damages. As noted in that motion, Anderson’s calculation
  of alleged “lost business value” (“LBV”) reflected a calculation of the consolidated LBV of all
  25 XBT corporate family entities. Anderson did not provide any estimated LBV for any
  particular subsidiary, including Webzilla, Inc. Dkt. 260 at 12-13.
          2.      Responses To Interrogatories
          Other than Anderson’s report, each Plaintiff separately responded to interrogatories
  seeking information about that Plaintiff’s alleged damages. However, the damages claimed by
  Plaintiff XBT were likewise damages allegedly incurred by its indirect subsidiaries. It claimed
  that the consolidated revenues of the entire “XBT Family” were lower during the each of the first
  seven months of 2017 than they were in December 2017, for a total of $8.3 million during that
  time period. Ex. 7 (XBT 3rd Suppl. Resp.) at 2-3. XBT also stated those damages would be
  apportioned between Defendants and Christopher Steele, which never happened. Id.
          Webzilla, Inc. also responded to interrogatories. Generally, its answers simply refer to
  XBT’s answers and do not identify any damages for Webzilla, Inc. itself. Ex. 8 (Webzilla Suppl.
  Resp.) at 2. In addition, Webzilla, Inc. (like XBT) also pointed to documents produced by
  Plaintiffs as evidence of difficulties with obtaining financing. Id. at 1-2. However, as far as
  Defendants can discern, those documents all relate to financing contracts for European Webzilla
  entities, not Webzilla, Inc. See, e.g., Ex. 9.
          XBT Holding S.A.’s 2016 nonconsolidated financial statement, the most recent that has
  been produced, shows that the company had $5.5 million in revenue, consisting entirely of
  dividends paid by its subsidiary XBT Holding Inc. Ex. 2 at 7. Strikingly, the company reported
  a net loss of $19.3 million for 2016 – the year before the Dossier was published. Id. As for
  Webzilla, Inc., its profits actually tripled after the Dossier was published – from $108,000 in
  2016 to $320,000 in 2017. Ex. 10 at 7 (Webzilla 2017 Statement).
                                              ARGUMENT
  I.      Damages Associated with Subsidiary Entities May Not be Recovered by their
          Corporate Parent
          As a matter of law, XBT may not seek damages incurred by subsidiaries, let alone
  subsidiaries that are almost all twice removed from it in the corporate structure. Just as parent


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  companies may not be sued for the alleged torts of their subsidiaries, absent veil-piercing, it is
  well-settled that a parent company may not recover damages incurred by its subsidiaries.
  Elandia Int’l, Inc. v. Koy, 2010 WL 2179770, at *6 (S.D. Fla. Feb. 22, 2010) (“[A] corporation
  does not have standing to assert claims belonging to a related or closely affiliated corporation
  simply because their businesses are intertwined.”), R&R adopted, 2010 WL 2196040 (S.D. Fla.
  June 1, 2010); Mobius Risk Grp. LLC v. Global Clean Energy Holdings, Inc., 2011 WL
  3568074, at *5 (S.D. Tex. Aug. 15, 2011) (“Courts that have addressed [whether or when a
  parent company may recover damages incurred by its subsidiaries] have consistently held that a
  parent my not do so.”); Tullet Prebon, PLC v. BCG Partners, Inc., 2010 WL 2545178, at *4
  (D.N.J. June 18, 2010) (“Wrongdoing to a subsidiary does not confer standing upon the parent
  company, even where the parent is the sole shareholder of the subsidiary.”), aff’d, 427 F. App’x
  236 (3d Cir. 2011). Specifically, a parent company may not “create a subsidiary and then ignore
  its separate corporate existence whenever it would be advantageous to the parent.” Feinberg v.
  Katz, 2002 WL 1751135, at *6 (S.D.N.Y. July 26, 2002) (parent company and its sole
  shareholder “cannot bring claims to recover for damages incurred by its subsidiary”) (citation
  omitted). That principal is especially relevant here, where Plaintiffs attempt to have their cake
  and eat it too. Plaintiffs have relied heavily on distinct entities within their corporate structure to
  bring and maintain lawsuits in various fora and assert the application of forum law. Yet now,
  they seek to ignore those distinctions entirely for purposes of claiming $150 million in
  consolidated damages allegedly incurred by a company incorporated in Luxembourg and
  operating out of Cyprus. Indeed, it is not clear that Plaintiffs have produced any evidence of
  alleged pecuniary damages specifically incurred by either of the actual corporate Plaintiffs in this
  case at all. For the present, however, Plaintiffs XBT Holding S.A. and Webzilla, Inc. should be
  precluded from attempting to offer any evidence of damages allegedly incurred by other
  subsidiaries.
                                              CONCLUSION
         For the reasons set forth herein, Defendants respectfully request that the Court preclude
  Plaintiffs from offering evidence of damages related to corporations other than Plaintiffs XBT
  Holding S.A. and Webzilla, Inc. themselves.




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  Dated: October 29, 2018       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                By: /s/ Adam Lazier
                                                        Adam Lazier




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